Case 2:21-cv-04405-RGK-MAR Document 95-6 Filed 04/21/22 Page 1 of 15 Page ID
                                 #:1570




              Exhibit E
                 to Declaration of Nilay U. Vora




                                                                Exhibit E
                                                                      32
           Case 2:21-cv-04405-RGK-MAR Document 95-6 Filed 04/21/22 Page 2 of 15 Page ID
                                            #:1571


From:                          Robert Frommer
Sent:                          Thursday, February 10, 2022 2:28 PM
To:                            Rodgers, Victor (USACAC)
Subject:                       RE: [EXTERNAL] RE: Snitko discovery



OK, I’ll call you at 3pm PT/ 6pm ET at the number in your signature.



From: Rodgers, Victor (USACAC) <Victor.Rodgers@usdoj.gov>
Sent: Thursday, February 10, 2022 2:25 PM
To: Robert Frommer <rfrommer@ij.org>
Subject: Re: [EXTERNAL] RE: Snitko discovery

My time. Thanks.

Sent from my iPhone


           On Feb 10, 2022, at 11:20 AM, Robert Frommer <rfrommer@ij.org> wrote:


           3 my time, or yours? I can do either.

           Best,
           Rob

           From: Rodgers, Victor (USACAC) <Victor.Rodgers@usdoj.gov>
           Sent: Thursday, February 10, 2022 2:16 PM
           To: Robert Frommer <rfrommer@ij.org>
           Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin <KGriffin@ij.org>; Casey
           Nasca <cnasca@ij.org>; Coll, Maxwell (USACAC) <Maxwell.Coll@usdoj.gov>; Brown, Andrew (USACAC)
           <Andrew.Brown@usdoj.gov>
           Subject: Re: [EXTERNAL] RE: Snitko discovery

           How about 3pm?

           Sent from my iPhone



                   On Feb 10, 2022, at 10:35 AM, Robert Frommer <rfrommer@ij.org> wrote:


                   Victor,

                   I think we should get on the telephone to discuss this. Is there a time you are free
                   today?

                   Best,
                   Robert
                                                                     1
                                                                                                      Exhibit E
                                                                                                            33
Case 2:21-cv-04405-RGK-MAR Document 95-6 Filed 04/21/22 Page 3 of 15 Page ID
                                 #:1572

      From: Rodgers, Victor (USACAC) <Victor.Rodgers@usdoj.gov>
      Sent: Wednesday, February 9, 2022 7:38 PM
      To: Robert Frommer <rfrommer@ij.org>
      Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin
      <KGriffin@ij.org>; Casey Nasca <cnasca@ij.org>; Coll, Maxwell (USACAC)
      <Maxwell.Coll@usdoj.gov>; Brown, Andrew (USACAC) <Andrew.Brown@usdoj.gov>
      Subject: RE: Snitko discovery

      Dear Robert:

      Class members do not waive rights otherwise available to them by agreeing to the terms
      of a protective order, but they are subject to the restrictions of that order. If they
      contend property was lost, they can submit a claim for their losses and make a request
      for the inventory. I do not know whether the government would automatically provide
      the inventory in response to that request or not, but I suspect that in some cases it
      would and in others it would not.

      Victor Rodgers
      Assistant United States Attorney
      Asset Forfeiture Section
      312 North Spring Street, 14th Floor
      Los Angeles, California 90012
      Phone 213.894.2569
      Fax 213.894.0142
      E-mail victor.rodgers@usdoj.gov


      From: Robert Frommer <rfrommer@ij.org>
      Sent: Wednesday, February 9, 2022 9:36 AM
      To: Rodgers, Victor (USACAC) <VRodgers@usa.doj.gov>
      Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin
      <KGriffin@ij.org>; Casey Nasca <cnasca@ij.org>; Coll, Maxwell (USACAC)
      <MColl@usa.doj.gov>; Brown, Andrew (USACAC) <ABrown3@usa.doj.gov>
      Subject: [EXTERNAL] RE: Snitko discovery

      Victor,

      Thank you for your email. I want to get your understanding of the claim process that
      class members face.

      Let’s say there is a class member who says Defendants lost some of the items in their
      safe deposit box. That class member submits a claim for the allegedly missing items and
      subsequently asks Defendants to provide them with the copy of the inventory of their
      box as part of the claims process. Is Defendants’ position that the government will turn
      over that inventory to the box renter/claimant in response to that request?

      Best,
      Robert
      From: Rodgers, Victor (USACAC) <Victor.Rodgers@usdoj.gov>
      Sent: Wednesday, February 9, 2022 11:10 AM
      To: Robert Frommer <rfrommer@ij.org>
                                                 2
                                                                                       Exhibit E
                                                                                             34
Case 2:21-cv-04405-RGK-MAR Document 95-6 Filed 04/21/22 Page 4 of 15 Page ID
                                 #:1573
      Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin
      <KGriffin@ij.org>; Casey Nasca <cnasca@ij.org>; Coll, Maxwell (USACAC)
      <Maxwell.Coll@usdoj.gov>; Brown, Andrew (USACAC) <Andrew.Brown@usdoj.gov>
      Subject: RE: Snitko discovery

      Dear Robert:

      Thank you for your counterproposal for the protective order. However, what you
      suggest does not work. The language our side proposed merely has class members
      treated exactly like parties to this case. The inventories can contain, not only PII of the
      box holders, but PII of third parties, as well. The government cannot release those items
      without an appropriate protective order in place. In addition, under the terms of Exhibit
      A, class members have to agree to terms that permit the government to enforce
      violations against any class member who fails to comply with the order. Without that
      provision and the government receiving a copy of executed Exhibit A’s (and the
      information contained therein) before confidential information is produced, the
      government has no means to police violations of the order. That is the procedure
      contemplated by the protective order when confidential information is shown to a
      witness during a deposition. Finally, as with any protective order, nothing in the
      protective order prevents third parties making a claim against the government, should
      they choose to do so, and seek whatever information, such as the inventory, they deem
      appropriate as part of that claim process, nor does the protective order bar any party
      from seeking Court relief requiring the government to remove any confidential
      designation from any inventory produced in this case. Accordingly, the government is
      not precluding people from using inventories should they wish to make a claim against
      the government, but instead is requiring them to comply with the protective order
      procedures in limiting the disclosure of confidential information for purposes other than
      the instant proceeding.

      I hope this answers the issues you raise in your email, and we can move
      forward. Thanks for your consideration of this matter.

      Victor Rodgers
      Assistant United States Attorney
      Asset Forfeiture Section
      312 North Spring Street, 14th Floor
      Los Angeles, California 90012
      Phone 213.894.2569
      Fax 213.894.0142
      E-mail victor.rodgers@usdoj.gov


      From: Robert Frommer <rfrommer@ij.org>
      Sent: Friday, February 4, 2022 8:39 AM
      To: Rodgers, Victor (USACAC) <VRodgers@usa.doj.gov>
      Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin
      <KGriffin@ij.org>; Casey Nasca <cnasca@ij.org>; Coll, Maxwell (USACAC)
      <MColl@usa.doj.gov>; Brown, Andrew (USACAC) <ABrown3@usa.doj.gov>
      Subject: [EXTERNAL] RE: Snitko discovery

      Victor,


                                                   3
                                                                                         Exhibit E
                                                                                               35
Case 2:21-cv-04405-RGK-MAR Document 95-6 Filed 04/21/22 Page 5 of 15 Page ID
                                 #:1574
      Plaintiffs find Defendants’ proposal unacceptable. Under it, class members would need
      to sign a confidentiality agreement to be sent to Defendants ahead of time. And
      although Defendants claim the purpose of their search was to create an “inventory” to
      protect people’s property from claims of loss and theft, you now want to block those
      same people from accessing and using those inventories.

      This is untenable. The records we are discussing are records of the class member’s own
      box. And these people are members of Plaintiffs’ class precisely because Defendants
      returned their items after determining that there were no grounds to pursue forfeiture.

      So Plaintiffs propose the following: Plaintiffs are willing to have class members who
      want to review their inventory records and/or video sign Exhibit A. We are not willing to
      send a copy of that signed Exhibit to Defendants. And while Plaintiffs would agree to
      language preventing class members from disseminating the inventory records or the
      information contained therein to third parties, we cannot agree to language preventing
      class members from using those records when making any claim against the
      government regarding property they allege has gone missing.

      Plaintiffs sent these discovery requests three months ago. We agreed to extend the
      response date at Defendants’ request. And we have worked in good faith for almost
      three weeks to resolve these issues without the Court’s involvement. If we cannot
      resolve this matter in short order, Plaintiffs will be forced to move for an order
      compelling discovery.

      Best,
      Robert



      From: Rodgers, Victor (USACAC) <Victor.Rodgers@usdoj.gov>
      Sent: Thursday, February 3, 2022 7:53 PM
      To: Robert Frommer <rfrommer@ij.org>
      Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin
      <KGriffin@ij.org>; Casey Nasca <cnasca@ij.org>; Coll, Maxwell (USACAC)
      <Maxwell.Coll@usdoj.gov>; Brown, Andrew (USACAC) <Andrew.Brown@usdoj.gov>
      Subject: RE: Snitko discovery

      Thanks, Robert

      Here is the proposal for a new subsection (j) from my side:

      (j) a class member to this Action to whom disclosure is reasonably necessary for this
      Action and who has signed Exhibit A and for whom the signed Exhibit A has been
      provided to Counsel for the Producing Party prior to the disclosure, provided that the
      disclosure of such CONFIDENTIAL Information or Items shall be limited to records
      reflecting the inventorying of the contents of that specific class member’s safe deposit
      box at US Private Vaults.

      Please let me know at your convenience whether this works.

      Victor Rodgers
      Assistant United States Attorney
      Asset Forfeiture Section
                                                  4
                                                                                         Exhibit E
                                                                                               36
Case 2:21-cv-04405-RGK-MAR Document 95-6 Filed 04/21/22 Page 6 of 15 Page ID
                                 #:1575
      312 North Spring Street, 14th Floor
      Los Angeles, California 90012
      Phone 213.894.2569
      Fax 213.894.0142
      E-mail victor.rodgers@usdoj.gov



      From: Robert Frommer <rfrommer@ij.org>
      Sent: Tuesday, February 1, 2022 10:03 AM
      To: Rodgers, Victor (USACAC) <VRodgers@usa.doj.gov>
      Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin
      <KGriffin@ij.org>; Casey Nasca <cnasca@ij.org>; Coll, Maxwell (USACAC)
      <MColl@usa.doj.gov>; Brown, Andrew (USACAC) <ABrown3@usa.doj.gov>
      Subject: [EXTERNAL] RE: Snitko discovery

      Victor,

      I understand your point about the receipt, but what someone ultimately receives back
      differs qualitatively from what Defendants’ officers wrote down and/or recorded during
      the inventory process. That said, I think there’s an easy way to address this. In Section
      7.2, we can nix the “and” in subsection (h), include it in subsection (i), and then add the
      following language:

      (j) a class member to this Action, provided that the disclosure of any
      such CONFIDENTIAL information shall be limited to records that
      contain information reflecting the contents of that class member’s
      safe deposit box.
      An alternate formulation for (j) would be this:

      (j) a class member to this Action, provided that the disclosure of any
      such CONFIDENTIAL information shall be limited to copies of any
      records created as a result of Defendants’ inventorying of the
      contents of that class member’s safe deposit box.

      We believe that either of these formulations would allow Plaintiffs’ counsel to share the
      inventory records we are discussing while not permitting the dissemination of any and
      all confidential information.

      Best,
      Rob

      Robert Frommer
      Senior Attorney, Institute for Justice
      Director, IJ’s Project on the Fourth Amendment
      901 North Glebe Road, Suite #900
      Arlington, VA 22203
      Tel: (703) 682-9320
      Email: rfrommer@ij.org
                                                   5
                                                                                          Exhibit E
                                                                                                37
Case 2:21-cv-04405-RGK-MAR Document 95-6 Filed 04/21/22 Page 7 of 15 Page ID
                                 #:1576


      From: Rodgers, Victor (USACAC) <Victor.Rodgers@usdoj.gov>
      Sent: Tuesday, February 1, 2022 11:15 AM
      To: Robert Frommer <rfrommer@ij.org>
      Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin
      <KGriffin@ij.org>; Casey Nasca <cnasca@ij.org>; Coll, Maxwell (USACAC)
      <Maxwell.Coll@usdoj.gov>; Brown, Andrew (USACAC) <Andrew.Brown@usdoj.gov>
      Subject: RE: Snitko discovery

      Thanks, Robert,

      I think that sharing the inventory and video would violate the protective order. Persons
      who received their property back would have received a receipt of the items returned to
      them so they would already know if the inventory completely set forth items in their
      box. Nonetheless, if you can prepare some proposed language for sharing of this
      material, please send it to me and I will run it by the people on my end. Thanks.

      Victor Rodgers
      Assistant United States Attorney
      Asset Forfeiture Section
      312 North Spring Street, 14th Floor
      Los Angeles, California 90012
      Phone 213.894.2569
      Fax 213.894.0142
      E-mail victor.rodgers@usdoj.gov



      From: Robert Frommer <rfrommer@ij.org>
      Sent: Friday, January 28, 2022 10:59 AM
      To: Rodgers, Victor (USACAC) <VRodgers@usa.doj.gov>; Robert Frommer
      <rfrommer@ij.org>
      Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin
      <KGriffin@ij.org>; Casey Nasca <cnasca@ij.org>; Coll, Maxwell (USACAC)
      <MColl@usa.doj.gov>; Brown, Andrew (USACAC) <ABrown3@usa.doj.gov>
      Subject: [EXTERNAL] RE: Snitko discovery

      Victor,

      Thank you for sending this over. We have reviewed it and are generally OK with the
      substantive and procedural aspects of the Order, but I wanted to get consensus on one
      item before we move forward.

      I see that one restriction is that we cannot use protected docs and information “for any
      purpose other than prosecuting this action.” But one issue in the litigation, as you
      know, involves the adequacy of the government’s inventory search, including the
      adequacy and correctness of the government’s inventory sheets. We want to be able to
      provide the inventory sheet and/or video that pertains to a specific class member’s safe
      deposit box to that member so that he or she can evaluate whether the inventory done
      by defendants was full and complete. We believe that this would be OK given that it


                                                 6
                                                                                       Exhibit E
                                                                                             38
Case 2:21-cv-04405-RGK-MAR Document 95-6 Filed 04/21/22 Page 8 of 15 Page ID
                                 #:1577
      would be directly related to this litigation, but we want to be sure that Defendants are
      not claiming that such sharing wouldn’t be permissible under the Order’s language.

      Given all that, I wanted to reach out to see Defendants’ position on this. To the extent
      that Defendants believe that such sharing would violate the Order’s language, then we
      will need to craft some additional language permitting this limited disclosure. Please
      advise at your earliest convenience.

      Best,
      Rob

      Robert Frommer
      Senior Attorney, Institute for Justice
      Director, IJ’s Project on the Fourth Amendment
      901 North Glebe Road, Suite #900
      Arlington, VA 22203
      Tel: (703) 682-9320
      Email: rfrommer@ij.org




      From: Rodgers, Victor (USACAC) <Victor.Rodgers@usdoj.gov>
      Sent: Thursday, January 27, 2022 8:02 PM
      To: Robert Frommer <rfrommer@ij.org>
      Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin
      <KGriffin@ij.org>; Casey Nasca <cnasca@ij.org>; Coll, Maxwell (USACAC)
      <Maxwell.Coll@usdoj.gov>; Brown, Andrew (USACAC) <Andrew.Brown@usdoj.gov>
      Subject: RE: Snitko discovery

      Robert,

      Attached is a proposed stipulated protective order for your review and
      comment. Thanks.

      Victor Rodgers
      Assistant United States Attorney
      Asset Forfeiture Section
      312 North Spring Street, 14th Floor
      Los Angeles, California 90012
      Phone 213.894.2569
      Fax 213.894.0142
      E-mail victor.rodgers@usdoj.gov


      From: Robert Frommer <rfrommer@ij.org>
      Sent: Monday, January 24, 2022 2:22 PM
      To: Rodgers, Victor (USACAC) <VRodgers@usa.doj.gov>
      Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin
      <KGriffin@ij.org>; Casey Nasca <cnasca@ij.org>; Coll, Maxwell (USACAC)
      <MColl@usa.doj.gov>; Brown, Andrew (USACAC) <ABrown3@usa.doj.gov>
      Subject: [EXTERNAL] RE: Snitko discovery

                                                  7
                                                                                         Exhibit E
                                                                                               39
Case 2:21-cv-04405-RGK-MAR Document 95-6 Filed 04/21/22 Page 9 of 15 Page ID
                                 #:1578
      Victor,

      It was good speaking with you today about discovery in the USPV Snitko
      litigation. Attached to this email please find a letter that we believe encapsulates the
      parties’ discussion of the pending discovery issues in this matter. We look forward to
      reviewing your proposed protective order and continuing to move this matter forward.

      Best,
      Rob

      Robert Frommer
      Senior Attorney, Institute for Justice
      Director, IJ’s Project on the Fourth Amendment
      901 North Glebe Road, Suite #900
      Arlington, VA 22203
      Tel: (703) 682-9320
      Email: rfrommer@ij.org



      From: Rodgers, Victor (USACAC) <Victor.Rodgers@usdoj.gov>
      Sent: Friday, January 14, 2022 6:58 PM
      To: Robert Frommer <rfrommer@ij.org>
      Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin
      <KGriffin@ij.org>; Casey Nasca <cnasca@ij.org>; Coll, Maxwell (USACAC)
      <Maxwell.Coll@usdoj.gov>; Brown, Andrew (USACAC) <Andrew.Brown@usdoj.gov>
      Subject: RE: Snitko discovery

      Robert,

      Attached are documents we are producing. I am available on Monday, January 24 for
      our conference at anytime between 10 am and 2pm PST or after 4pm PST. Just select a
      time, let me know what it is, and call me at the number below.

      Thanks.

      Victor Rodgers
      Assistant United States Attorney
      Asset Forfeiture Section
      312 North Spring Street, 14th Floor
      Los Angeles, California 90012
      Phone 213.894.2569
      Fax 213.894.0142
      E-mail victor.rodgers@usdoj.gov

      From: Robert Frommer <rfrommer@ij.org>
      Sent: Wednesday, January 12, 2022 10:23 AM
      To: Rodgers, Victor (USACAC) <VRodgers@usa.doj.gov>; Coll, Maxwell (USACAC)
      <MColl@usa.doj.gov>; Brown, Andrew (USACAC) <ABrown3@usa.doj.gov>
      Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin
      <KGriffin@ij.org>; Casey Nasca <cnasca@ij.org>
      Subject: [EXTERNAL] RE: Snitko discovery

                                                  8
                                                                                        Exhibit E
                                                                                              40
Case 2:21-cv-04405-RGK-MAR Document 95-6 Filed 04/21/22 Page 10 of 15 Page ID
                                 #:1579
       Counsel,

       Please find attached a letter to Defendants regarding their discovery objections and
       responses.

       Best,
       Robert

       Robert Frommer
       Senior Attorney, Institute for Justice
       Director, IJ’s Project on the Fourth Amendment
       901 North Glebe Road, Suite #900
       Arlington, VA 22203
       Tel: (703) 682-9320
       Email: rfrommer@ij.org



       From: Rodgers, Victor (USACAC) <Victor.Rodgers@usdoj.gov>
       Sent: Monday, January 10, 2022 8:28 PM
       To: Robert Frommer <rfrommer@ij.org>
       Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin
       <KGriffin@ij.org>
       Subject: RE: Snitko discovery

       Robert,

       Attached are our discovery responses. We will be producing documents this week.

       Victor Rodgers
       Assistant United States Attorney
       Asset Forfeiture Section
       312 North Spring Street, 14th Floor
       Los Angeles, California 90012
       Phone 213.894.2569
       Fax 213.894.0142
       E-mail victor.rodgers@usdoj.gov


       From: Robert Frommer <rfrommer@ij.org>
       Sent: Monday, January 10, 2022 7:10 AM
       To: Rodgers, Victor (USACAC) <VRodgers@usa.doj.gov>
       Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin
       <KGriffin@ij.org>
       Subject: [EXTERNAL] RE: Snitko discovery

       Victor,

       I hope you are doing well. Based on our prior conversation, our understanding was that
       Defendants would be providing responses to Plaintiffs’ discovery requests by close of
       business on January 7. We also understood from your correspondence that you would
       be sending us courtesy copies of those responses via email, since your office generally
       transmits these sort of things via postal mail.
                                                   9
                                                                                        Exhibit E
                                                                                              41
Case 2:21-cv-04405-RGK-MAR Document 95-6 Filed 04/21/22 Page 11 of 15 Page ID
                                 #:1580

       To that end, can you please email us the responses to Plaintiffs’ discovery requests at
       your earliest convenience?

       Best,
       Robert

       From: Rodgers, Victor (USACAC) <Victor.Rodgers@usdoj.gov>
       Sent: Monday, November 29, 2021 2:56 PM
       To: Robert Frommer <rfrommer@ij.org>
       Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin
       <KGriffin@ij.org>
       Subject: RE: Snitko discovery

       Thanks, Robert

       I am not talking about my vacation time. I do not intend to take a vacation this year. I
       am referencing the FBI employees who must assemble the documents necessary to
       respond to the discovery. Can you please grant the government at least the customary
       30 day extension that is always granted in federal cases? That would make the deadline
       January 7. Again, we are in the holiday season, so this is a good faith request I am
       making and, quite frankly, I routinely grant opposing counsel 30 day extensions to
       respond to discovery (and I have done so over the last two weeks in other cases). I
       really do not believe there is anything unreasonable about the request. Please let me
       know.

       Victor Rodgers
       Assistant United States Attorney
       Asset Forfeiture Section
       312 North Spring Street, 14th Floor
       Los Angeles, California 90012
       Phone 213.894.2569
       Fax 213.894.0142
       E-mail victor.rodgers@usdoj.gov


       From: Robert Frommer <rfrommer@ij.org>
       Sent: Monday, November 29, 2021 11:49 AM
       To: Rodgers, Victor (USACAC) <VRodgers@usa.doj.gov>
       Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin
       <KGriffin@ij.org>
       Subject: [EXTERNAL] RE: Snitko discovery

       Victor,

       I understand your desire to use your vacation time before it expires, but making
       Plaintiffs wait until the middle of January before receiving Defendants’ objections and
       responses is untenable. That would be more than doubling the time Defendants have to
       answer Plaintiffs’ preliminary discovery requests. Given the short discovery window the
       Court has scheduled in this matter, such a delay would prejudice Plaintiffs’ ability to
       present the Court with a full and complete picture of Defendants’ actions on and before
       the events of March 22. That prejudice would only grow should Defendants raise


                                                   10
                                                                                          Exhibit E
                                                                                                42
Case 2:21-cv-04405-RGK-MAR Document 95-6 Filed 04/21/22 Page 12 of 15 Page ID
                                 #:1581
       objections to some or all of Plaintiffs’ requests that necessitate bringing a motion to
       compel. It was with that in mind that I proposed the compromise in my previous email.

       Given that that compromise is unworkable for Defendants, Plaintiffs are instead willing
       to provide Defendants with a two-week extension to respond to Plaintiffs’ requests. As
       your previous email correctly noted, the requests are currently due on December 8;
       Plaintiffs’ offered extension would make that date December 22.

       Best,
       Robert

       From: Rodgers, Victor (USACAC) <Victor.Rodgers@usdoj.gov>
       Sent: Monday, November 29, 2021 2:27 PM
       To: Robert Frommer <rfrommer@ij.org>
       Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin
       <KGriffin@ij.org>
       Subject: RE: Snitko discovery

       Robert,

       Thank you for your suggestion. However, I will not know what objections I will be
       asserting, until such time as I have all the documents I intend to produce and other
       information I have that is responsive and requires a substantive response to the
       interrogatories Accordingly, I do not typically assert objections, without this
       information, which is why I have asked for the little-over 30 day extension to respond to
       the discovery. Government employees have “use or lose” vacation time that makes
       it impossible for me to comply with the current deadlines. If you are willing to grant the
       extension I have requested, I will serve my responses via email, as that seems to have
       caused a problem in the past. However, the extension I am requesting would not
       appear to me to be unreasonable in length, or unduly prejudice you in this
       matter. Please let me know. Thanks.

       Victor Rodgers
       Assistant United States Attorney
       Asset Forfeiture Section
       312 North Spring Street, 14th Floor
       Los Angeles, California 90012
       Phone 213.894.2569
       Fax 213.894.0142
       E-mail victor.rodgers@usdoj.gov



       From: Robert Frommer <rfrommer@ij.org>
       Sent: Monday, November 29, 2021 11:05 AM
       To: Rodgers, Victor (USACAC) <VRodgers@usa.doj.gov>
       Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin
       <KGriffin@ij.org>
       Subject: [EXTERNAL] RE: Snitko discovery

       Victor,



                                                   11
                                                                                         Exhibit E
                                                                                               43
Case 2:21-cv-04405-RGK-MAR Document 95-6 Filed 04/21/22 Page 13 of 15 Page ID
                                 #:1582
       I understand your position, and think there is an appropriate compromise that can work
       for both parties. Plaintiffs would ask that Defendants stick by the December 8 due date
       in terms of providing to Plaintiffs any objections they might have regarding Plaintiffs’
       discovery requests. This will allow Plaintiffs to quickly evaluate the strength of those
       objections and to immediately begin work on a Motion to Compel to the extent one is
       needed.

       To the extent that Defendants need time beyond December 8 to provide substantive
       responses to the interrogatories and to produce documents in response to Plaintiffs’
       RFDs, we most likely can agree to such an extension. We would ask to tell us what
       documents will be produced and in what form (recalling that all documents produced
       should be in native electronic format or as searchable PDFs, should native format not be
       viable), and when Defendants can provide those responses and documents.

       Best,
       Robert

       From: Rodgers, Victor (USACAC) <Victor.Rodgers@usdoj.gov>
       Sent: Monday, November 29, 2021 1:32 PM
       To: Robert Frommer <rfrommer@ij.org>
       Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin
       <KGriffin@ij.org>
       Subject: RE: Snitko discovery

       Hello Robert:

       By my calculations, our response is actually due Wednesday, December 8, as the
       discovery was served by mail and an additional three days are added when discovery
       were served by mail under Fed. R. Civ. P. 6(d)
       The government is merely asking for an approximate 30 day extension to respond to
       discovery, which is a common courtesy granted in all federal cases, regardless of
       whether the case is a class action case, and particularly with discovery requests served
       that require responses during the holiday season. While I certainly appreciate your
       willingness to grant a short 7 day extension, it is simply not enough, and sufficient
       available time will remain for you to complete discovery and work up your case. Can you
       at least grant an extension until sometime in early January, such as January 10? I chose
       the January 14 date, because it was the day before the Martin Luther King Holiday.
       Please let me know. Thank you.

       Victor Rodgers
       Assistant United States Attorney
       Asset Forfeiture Section
       312 North Spring Street, 14th Floor
       Los Angeles, California 90012
       Phone 213.894.2569
       Fax 213.894.0142
       E-mail victor.rodgers@usdoj.gov



       From: Robert Frommer <rfrommer@ij.org>
       Sent: Monday, November 29, 2021 9:50 AM
       To: Rodgers, Victor (USACAC) <VRodgers@usa.doj.gov>

                                                  12
                                                                                        Exhibit E
                                                                                              44
Case 2:21-cv-04405-RGK-MAR Document 95-6 Filed 04/21/22 Page 14 of 15 Page ID
                                 #:1583
       Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin
       <KGriffin@ij.org>
       Subject: [EXTERNAL] RE: Snitko discovery

       Hello Victor,

       Yes, I did, and I hope that you did as well. I wanted to get back to you about your
       request for an extension. As you know, Plaintiffs sent these two sets of requests at the
       beginning of November, with responses due on December 6. Given this, I do not
       understand how the holidays would prevent a timely response to discovery issued in
       this major federal class action. Moreover, it is imperative the parties keep to the
       schedule that the Court laid out at the November 8 scheduling conference, given the
       Court’s reluctance to extend deadlines (as evidenced by its refusal to extend the time
       for class certification briefing).

       Given all of the above, Plaintiffs can provide Defendants with a one-week extension of
       the discovery deadlines, which would make both requests due on Monday, December
       13. Please let me and my colleagues know if this works for Defendants.

       Best,
       Robert

       Robert Frommer
       Senior Attorney, Institute for Justice
       Director, IJ’s Project on the Fourth Amendment
       901 North Glebe Road, Suite #900
       Arlington, VA 22203
       Tel: (703) 682-9320
       Email: rfrommer@ij.org



       From: Rodgers, Victor (USACAC) <Victor.Rodgers@usdoj.gov>
       Sent: Monday, November 29, 2021 11:01 AM
       To: Robert Frommer <rfrommer@ij.org>
       Subject: Snitko discovery

       Hello Robert:

       I hope you had a good Thanksgiving. I am writing about plaintiffs’ second set of
       interrogatories and second request for the production of documents. In light of the
       holidays and press of other business, it is not possible for the government to respond to
       the discovery by the current deadline. Accordingly, I am requesting an extension until
       January 14, 2021 to respond to that discovery. Please let me know whether the
       government can have the extension. Thank you.

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       Phone 213.894.2569
       Fax 213.894.0142
                                                  13
                                                                                         Exhibit E
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Case 2:21-cv-04405-RGK-MAR Document 95-6 Filed 04/21/22 Page 15 of 15 Page ID
                                 #:1584
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                                         14
                                                                Exhibit E
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